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Attorney or Party Name, Address, Telephone & FAX Nos.,State              FOR COURT USE ONLY
Bar No. & Email Address

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    Individual appearing without attorney
    Attorney for Debtor
                                                 UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
In re:
                        Adrienne Y. White                                CASE NO.: 6:19-bk-17252-WJ

                                                                         CHAPTER: 7


                                                                                     SUMMARY OF AMENDED SCHEDULES,
                                                                                          MASTER MAILING LIST,
                                                                                          AND/OR STATEMENTS
                                                                                             [LBR 1007-1(c)]
                                                             Debtor(s)

A filing fee is required to amend Schedules D, or E/F (see Abbreviated Fee Schedule on the Court’s website
www.cacb.uscourts.gov). A supplemental master mailing list (do not repeat any creditors on the original) is also required as an
attachment if creditors are being added to the Schedule D or E/F. Are one or more creditors being added?       Yes     No

The following schedules, master mailing list or statements (check all that apply) are being amended:
    Schedule A/B            Schedule C                 Schedule D           Schedule E/F                  Schedule G

    Schedule H                 Schedule I                Schedule J          Schedule J-2                 Statement of Financial Affairs

    Statement About Your Social Security Number(s)                            Statement of                Master Mailing List
                                                                          Intentions

    Other (specify)

I/we declare under penalty of perjury under the laws of the United States that the amended schedules, master mailing list, and or
statements are true and correct.

Date:         September 23, 2019
                                                            Adrienne Y. White
                                                            Debtor 1 Signature

                                                            Debtor 2 (Joint Debtor) Signature (if applicable)

NOTE: It is the responsibility of the Debtor, or the Debtor’s attorney, to serve copies of all amendments on all creditors listed in this
Summary of Amended Schedules, Master Mailing List, and/or Statements, and to complete and file the attached Proof of Service of
Document.




     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2015                                                  Page 1                                     F 1007-1.1.AMENDED.SUMMARY
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 Fill in this information to identify your case:

 Debtor 1                 Adrienne Y. White
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           6:19-bk-17252-WJ
 (if known)                                                                                                                      Check if this is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                    12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
          whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
          on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Freedom Mortgage Corp                                Surrender the property.                             No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                Yes
    Description of       1167 W. Cornell St. Rialto, CA                     Reaffirmation Agreement.
    property             92376 San Bernardino County                        Retain the property and [explain]:
    securing debt:                                                        Continue Making Payments


    Creditor's         Regional Acceptance Co                               Surrender the property.                             No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                Yes
    Description of       2019 Kia Niro 10,200 miles                         Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                                                                                                            No



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 1

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 Debtor 1      Adrienne Y. White                                                                     Case number (if known)   6:19-bk-17252-WJ

 Description of leased                                                                                                          Yes
 Property:

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X                                                                                  X
       Adrienne Y. White                                                                Signature of Debtor 2
       Signature of Debtor 1

       Date        September 23, 2019                                               Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                 page 2

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